Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 1 of 15




              EXHIBIT I
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 2 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 3 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 4 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 5 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 6 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 7 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 8 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 9 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 10 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 11 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 12 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 13 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 14 of 15
Case 1:19-cv-05491-PAE-SN Document 184-9 Filed 02/16/24 Page 15 of 15
